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                       UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF IDAHO


     PATRICK WHITCOMB,
                                                 Case No. 2:19-cv-00392-BLW
                Plaintiff,
                                                 PRETRIAL ORDER
          v.

     NORTH IDAHO COLLEGE,

         Defendant.


       Following a pretrial conference with all counsel on March 13, 2023, the

Court enters the following Pre-Trial Order:

1.     Trial Date: A three-day bench trial shall be set for March 28, 2023, at 9:00

       a.m. in the United States Courthouse in Coeur d’ Alene, Idaho

2.     Findings of Fact and Conclusions of Law: The parties shall file proposed

       Findings of Fact and Conclusions of Law no later than March 24, 2023.

3.     Exhibits: The parties shall meet and confer regarding exhibits, and the

       potential creation of a joint exhibit list. A Joint Exhibit List shall be


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     submitted no later than March 20, 2023. At that time, the parties will also

     identify any demonstrative exhibits they plan to use at trial.

4.   Trial Schedule: Trial will be conducted from 9:00 am to 3:30 p.m., with

     three breaks, about 15 to 20 minutes each.

5.   On-The-Clock:

        a. The parties will be allotted approximately 15 hours of total time to try

            this case. The Court will enforce time limits strictly.

        b. The Court will keep track of the time each party uses, and provide

            reports to counsel at the end of each trial day.

        c. The clock is running on a party during opening statement, direct,

            cross, unsuccessful objections, and closing argument. The parties

            should carefully budget the time they expect to spend on each of the

            above events before trial.

        d. Percentage Allocation of 15 Hours to Each Party:

               i. Plaintiff – 55% (8.25 hours)

              ii. Defendants – 45% (6.75 hours)


6.   Witnesses:

        a. The parties agree to identify which witnesses will testify on a

            particular trial day by 5 p.m. the day before. The parties will provide a

            list of any demonstrative exhibits to be used by said witnesses.

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        b. The parties have notified the Court that certain witnesses will testify

            via video transmission. The parties shall inform courtroom deputy

            Jamie Gearhart of any witnesses that will testify via video

            transmission by 5:00 p.m. the day before. Ms. Gearhart will provide

            counsel with a video link. Counsel shall be responsible for providing

            the video link to their witnesses.

                                             DATED: March 14, 2023


                                             _________________________
                                             B. Lynn Winmill
                                             U.S. District Court Judge




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